              Case 2:12-cr-00039-TLN Document 32 Filed 01/18/13 Page 1 of 2


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 5
     Attorney for Defendant
 6   JOSE HERNANDEZ -GARCIA
 7
 8                           IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             ) Case No. 12-039 GEB
                                           )
12                           Plaintiff,    ) STIPULATION; ORDER THEREON
                                           )
13          v.                             ) Date: January 25, 2013
                                           ) Time: 9:00 a.m.
14                                         ) Judge: HONORABLE GARLAND E.
                                           )       BURRELL, JR
15   JOSE HERNANDEZ-GARCIA                 )
                                           )
16                Defendant.
     __________________________
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            IT IS HEREBY STIPULATED by and between the parties
18
     hereto through their respective counsel, MICHAEL BECKWITH,
19
     Assistant United States Attorney, attorney for Plaintiff, and
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     MARK J. REICHEL, Esq., attorney for defendant, that the
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     present dates for the status hearing be re calendared for
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     January 25, 2013.
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            This continuance is requested as defense counsel needs
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     adequate time to prepare for the case, and the defense is
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     still reviewing the discovery and will be researching
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     matters. As well, defense counsel will be in negotiations
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28   Stipulation and Order
              Case 2:12-cr-00039-TLN Document 32 Filed 01/18/13 Page 2 of 2


 1   with the government in an effort to resolve the case.
 2          Accordingly, all counsel and defendant agree that time
 3   under the Speedy Trial Act from the date this stipulation was
 4   agreed upon, December 14, 2012, through January 25, 2013,
 5   should be excluded in computing the time within which trial
 6   must commence under the Speedy Trial Act, pursuant to Title
 7   18 U.S.C. § 3161 (H)(7)(B)(iv) and Local Code T4.
 8   DATED: January 17, 2013.                  Respectfully submitted,
 9                                             MARK J. REICHEL, ESQ.
10                                           /s/ MARK J. REICHEL
                                              MARK J. REICHEL
11                                            Attorney for defendant
12
13                                             BENJAMIN WAGNER
                                               United States Attorney
14
15   DATED: January 17, 2013.                  s/MARK J. REICHEL for:
                                               MICHAEL BECKWITH
16                                             Assistant U.S. Attorney
                                               Attorney for Plaintiff
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                                         O R D E R
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            IT IS SO ORDERED.         For the reasons set forth above, the
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     court finds that there is GOOD CAUSE for the continuance and
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     the exclusion of time, and that the ends of justice served by
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     this continuance outweigh the best interests of the public
22
     and the defendant in a speedy trial.                 Time is excluded
23
     pursuant to 18 U.S.C. Section 3161(h)(7)(B)(iv) and Local
24
     Code T4.
25
     DATED: January 17, 2013
26
27                                              _________________________
28                                              GARLAND E. BURRELL, JR.
                                                Senior United States District Judge

     Stip and Order                            2
